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EXHIBIT 22

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SFR|NGF|ELD SPOR'I'S - EMERGENCY
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Roberi F. Sing, D.O.. FACSM. FACEFE FAOASM, FACOEP
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August 23, 2018

John Mirabella, Esq.
1600 Market St., Suite 1810
Philadelphia, PA 19103

Re: John Doe v. SJU and Jane Roe
Date of lncident: 2/24/2018

Dear Mr. Mirabella:

Jane Roe has accused John Doe of a “sexual assault” during a social encounter that occurred
on 2/24/2018.

Records, reports, and various photographs have been forwarded for review regarding the
above case, including the following:

‘l. Defendant, Jane Roe’s Answers To Plaintiffs lnterrogatories, Civil Action No. 18 C.V.
2044;

Defendant, Jane Roe’s Response To Plaintiffs Request For Production Of
Documents, Civil Action No. 18 C.V. 2044;

Color photographs (5) of Jane Roe’s neck;

Deposition transcript, Jane Roe (7/9/2018);

Deposition transcript, John Doe (6/8/2018);

Deposition transcript, Elizabeth Malloy (7/23/2018);

Report of Investigation of Elizabeth Malloy.

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By way of review, Jane Roe presented herself with friends to a party at the Alpha Phi Delta
fraternity house at LaSalle University on the evening of 2/23/2018. She had not been drinking
alcohol prior to arrival to LaSalle University. Within the hour, she met John Doe. Small talk
was exchanged. While at the party, she drank some alcoholic beverages that included two
beers from a keg and a mixture of Gatorade/Licor 43 (Spanish liquor made from 43 different
ingredients, hence the name; 62 proof). As they became more acquainted, Jane Doe
confessed to prior addictions to cocaine and heroin that required inpatient rehabilitation, and
that she had been clean for almost 2 years. At some time in the fraternity house, consensual
kissing ensued. Together, they walked outside after a time, and soon she received a text
message “guys, there's Coke here”. Jane Roe expressed a significant interest in obtaining the
cocaine, but she was talked out of it by John Doe who convinced her not to buy it. A short

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time later, Jane Roe accompanied John Doe in a car driven by John Doe’s friend with other
students to St. Joseph’s University at approximately 2 AM on 2124!2013.

After arrival to the house, they walked up to the third floor to a little room with two couch
types chairs with big arms next to each other were located. John Doe shut the door behind
them, but Jane Roe was unsure as to whether or not he locked the door. Consensual kissing
followed with the lights on. Soon afterwards, according to Jane Roe, he positioned himself on
top of her, essentially straddling her as she sat upright in a seated position and they faced
each other. l t was noted in the deposition transcript that throughout the entire time period of
the kissing, there was no touching of intimate body parts. Jane Roe reported no recollection
of his hands caressing her or her hands caressing him, however, she assumed that there was
caressing occurring “because that’s usually what you do when you kiss”. At this point, she
testified that he straddled her as they continued to kiss. At some point, while he is touching
her neck ( with her consent ) she testified that he squeezed her neck widi his right hand. She
reported that she “froze in fear” and couldn’t breathe because she was being choked,
according to her deposition. There was an investigator, Elizabeth Malloy, who prepared a
report and testified at deposition. According to Ms. Malloy, Jane Roe told her while John Doe
was kissing her ( with her consent} he squeezed her neck and said “what the fuck” and he
immediately stopped But, in her own deposition, Jane Roe testified that he was squeezing
her neck for 30 to 45 seconds and she just sat there with her eyes closed. (| note that John
Doe in his deposition transcript testified he never squeezed her neck, that she never backed
away and he was never given any indication that she was in any distress, uncomfortable, or
that any of his actions were nonconsensual, more consistent with her second rendition that
she just sat back essentially quietly as he continued to kiss her with his right hand on her
neck). She reported giving no expression that she was having pain and never gave him notice
that she was having difficulty or that he should stop. At deposition she testified that he
continued to kiss her at the time he squeezed her neck but when she stopped kissing him
back, she reported that is when he stopped. Jane Roe said she did not indicate to him that he
was applying too much pressure to her neck or that she was being choked in any way, and she
mentioned nothing to him. After this, he left the room, apparently going to get his computer,
When he came back to the room a few minutes later, Jane Roe said she had to leave because
her friend was sick “like she’s too drunk”. He gave his sweatshirt to her and she left. He
walked her downstairs, and they kissed at the door as she left the building.

The bruising on the neck, according to Jane Roe, was first noticed Sunday evening ,
2/25)‘2018 by friend. lt was first noticed after she put her hair up into a bun.

The five pictures of Jane Roe’s neck were reviewed. The pictures show bruising with
xanthochromic changes indicative of early healingfresolution about the anterior and lateral
aspects of the neck

Jane Roe, in her deposition transcript, testified that her past history included suffering from
PTSD (posttraumatic stress disorder), an eating disorder, alcohol and drug addiction requiring
inpatient rehabilitation (cocaine, heroin, and “weed”), depression, and mood instability.
Treatment provided to this patient over the years, including the date of the incident,
2123/2018 into the early hours of 2/24/2018, involved taking the medication Lexapro
(escitalopram), a commonly utilized selective serotonin reuptake inhibitor (SSR|) for
depression and mood disorder. |n addition, according t0 the defendants Answers to

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lnterrogatories, there is a possibility that she had also taken over the counter medications,
very possibly ibuprofen and/or aspirin, during the time period of the alleged assault.

| have been asked to provide my medical opinion as a physician experienced in treating
victims of sexual assault as to any relevant medical and/or forensic evidence to support or
refute Jane Roe’s claim of sexual assault. Upon thorough review of the three deposition
transcripts, the investigator’s report, and review of the five photographs of Jane Roe’s neck,
it is my opi nion, to a reasonable degree of medical certainty, that the undisputed facts
confirm that Jane Roe was not sexually assaulted . To begin with, no touching Ifeeling/
penetration of any sexual, intimate areas occurred. According to the testimonies, there was
never even an attempt at any time for touching/feeling/ penetration of any sexual, intimate
area during this social encounter. According to Jane Poe’s report of the encounter to Malloy,
there was no assault - Jane Roe said he stopped immediately According to Jane Roe’s
deposition, the description of John Doe’s right hand on Jane Roe’s neck, obstruction of airway
andfor cranial circulation did not occur; the patient just quietly sat back, fully conscious
after a 45 second handgrip on her neck (that she said cut off her airway). She also described
looking into his eyes as he backed away. There was no coughing or gagging reported that
would reflexively have occurred with abrupt airway cut off, or the kicking and flailing that
such an act would inevitably trigger, not the passive laying back quietly as she described in
her explanation to plaintiff counsel. She testified: “okay, you really don’t understand PTSD.
it’s fight, flight or freeze. | froze. That was my reactioni" Based upon her history as she
described it in her deposition | would question whether she was diagnosed with PTSD.
Regardless, even someone with PTSD would still have the expected post asphyxiation
reactions of gasping for air, sweating, and struggling to clear your head that did not occur
either. Another typical sign of strangulation is bloodshot eyes, with or without subconjunctival
hemorrhage. None of these telltale conditions were reported by anyone. l will address the
bruises below.

Although there are many causes of easy bruisability, some esoteric (hepatic pathology,
anemia, thrombocytopenia, blood/clotting disorders, multiple vitamin deficiencies, etc.), the
medication that she takes on a regular basis for her psychiatric issues, i.e. Lexapro, is in the
class of drugs known as SSRI {selecti ve serotonin reuptake i nhl bitors), well~known to cause
easy bruising. This medication does this by preventing serotonin induced amplification of
platelet aggregation, making it difficult for clotting to occur, which allows the blood to leave
the capillaries and escape into the soft tissue)'subcutaneous tissues causing the purplish color
of ecchymosis/bruising. To make matters worse, alcohol intake induces capillary
vasodilatation which causes friability of the capiltary system and increases susceptibility to
bruising even with minor trauma. With the Lexapro in her system, compounded by her
alcoholic beverage intake that evening (and even the potential that she took over the counter
anti-inflarnma tory medication that she described in her answers to interrogatories), it would
have taken minimal compression on the part of John Doe’s right hand on her neck to cause
the bruising seen on her anterior neck particularly given her testimony that she drank
excessively the following day and ended up in the emergency room with one her friends who
required treatment for alcohol poising. The effect of alcohol even 24 hours after the event
would have made the bruising appear significantly worse. The bruising of the neck if it really
happened at the time she was with John Doe ( it is certainly possible that it did not) is also
consistent with his hand was on her neck and enthusiastic caressing as opposed to
strangulation description set forth by Jane Roe.

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|n conclusion, in my opinion, there was never an assault, “sexual” or otherwise, on Jane Roe
by John Doe in the early hours of 2124!2018 for the above stated reasons. The bruisi ng on
Jane Roe's neck if it in fact occurred while she was with John Doe, in and of itself is not
evidence of an aggressive, strangulation attempt, for the previously stated reasons. Taki ng
into account the above information discussed above strongly discounts any accusation of
aggression on part of John Doe.

Please be advised that my opinions are based , not only upon reviewing the above records and
photogra phs, but also 40 years of treating hundreds of sexual assault and for strangulation
victims in the emergency rooms surrounding the Philadelphia area and suburbs, and continued
counseling to sexual assault victims in various outpatient settings.

All of the above opinions are stated to a reasonable degree of medical certainty.

Very truly yours,
Sports Science Center

Robert F. Sing, DO, FAC FACSM
Medical Director ,

   

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September 24, 2018

John Mirabella, Esquire
1600 Market St., Suite 1810
Phi|adelphia, PA 19103

Re: John Doe vs. Saint loseph's University and Jane Roe
Datelncident: 2/24/2018

Dear Mr. Mirabella:

Jane Roe has accused john Doe of a ”sexua| assau|t” during her social encounter that occurred at
approximately 2:30 AM on 2/24/2018.

Mu|tip|e listed reviewed records, reports, depositions, and photographs regarding this case, along with
certain opinions and conclusions drawn from review of this information, were memorialized in a
correspondence previously sent to your office dated 8/23/2018.

Recently, additional records, reports, and photographs were forwarded for review in regards to this
case, including the following:

1. Deposition transcript, Jane Roe, Part ll (9/7/2018);

2. Additiona| color photographs: R1-3 (taken the evening of 2/24/2018, approximately 19-20
hours after the allegedly assault); R4-8 (improved reproductions of the 5 color photographs
previously reviewed and discussed in the prior report taken 2/26/2018); R9-31 (undated);

3. Various texts messages to and from Jane Roe.

lt is apparent that upon reviewing the color photographs R1~3, and in particular photograph Rl, there is
no evidence of bruising, redness, irritation, or abrasions on her neck ‘ nothing. These photographs were
taken, according to Jane Roe, approximately 19-20 hours after the choking incident in question with
John Doe. To a reasonable degree of medical certainty, the bruises would have been present within
hours of the inciting traumatic incident. Jane Roe testified that no one, including a roommate or anyone
else that day, saw the anterior neck bruises. ln looking at photographs Rl - 3, the low neckline of her

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holter top with her hair being pushed back clearly exposes and displays the antero-lateral parts of her
neck, not only to her roommate also in the pictures, but also to herself when she was dressing/fixing
herself in front of her mirror in preparation for the pictures.

Jane Roe testified in her deposition transcript (Part ll) that she had sustained a fall down slippery steps
at a Slgma Pi fraternity party while she was admittedly ”buzzed", during the night of 2/24/2018 into the
early morning hours of 2/25/2018. (During that evening, one of her roommates was taken to the
hospital for ”a|cohol poisoning" while at the same Sigma Pi party.) Jane Roe also testified that she
presented to an undisclosed urgent care center approximately two days later on 2/27/2018 where she
was told she had a "bone bruise" to her wrist.

After review of these photographs, and taking into consideration lane Roe's deposition transcripts with
emphasis on the most recent 9/7/2018 testimony, the bruises on her neck seen on photographs R4-8,
(1) were not caused in any aggressive manner or choking maneuver by .|ohn Doe in the early morning
hours of 2/24/2018, and (2) that something else happened to Jane Roe after the R1 ~ 3 photographs and
before the R4-8 photographs There are absolutely no bruises on her neck on the photographs taken
approximately 20 hours after the incident. The fact that no one saw the neck bruises until after her fall
down the steps at the Sigma Pi party when she was ”buzzed”, even with full anterior neck visual
exposure in the R1 - 3 photographs, and the fact that even she did not see the anterior neck bruising
until after the Sigma Pi party, indicates that the trauma significant enough to cause the bruising about
her anterior neck occurred during or after the Sigma Pi party.

Again, as in my prior report, all of the above statements are made to a reasonable degree of medical
certainty.

Very truly yours,
Sports Science Center

qmnd

Robert F. Sing, D.O., C P, FACSM
Medica| Director

   

